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8                           UNITED STATES DISTRICT COURT
9                        SOUTHERN DISTRICT OF CALIFORNIA
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11    DYLAN THORINGTON,                        Case No.: 16-cv-02996-BTM-
                                  Plaintiff,   BLM
12
13    v.                                       ORDER GRANTING JOINT
                                               MOTION FOR DISMISSAL OF
14    SECURITY NATIONAL
                                               ACTION WITH PREJUDICE
      AUTOMATIVE ACCEPTANCE
15
      COMPANY, LLC AND PROBER &
16    RAPHAEL, A LAW
      CORPORATION,
17
                              Defendants.
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           Based upon the Joint Motion for Dismissal, and good cause, this Court
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     hereby orders the action to be, and is, dismissed with prejudice.
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     IT IS SO ORDERED.
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     Dated: April 3, 2017
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                                                                         16-cv-02996-BTM-BLM
